Case 1:04-cr-10079-.]DT Document 32 Filed 05/06/05 Page 1 of 7 Page|D 32
UN|TED STATES DISTR|CT COURT F// r~
wEsTERN olsTRlcT oF TENNEssEE ~-l-`D §V\;D\ 0
EASTERN D|VISION C

05 mr
56 '
uNlTED sTATEs oF AMERch 43 8' 37
véi_) § '\_.
-v- 04-10019-01-T §:% ij § l D§?Lg_
, be F~l:l \MS q. _
JEREMIAH GLYNN sANFoRD ' DON
Diane Smothersl FPD
Defense Attorney

109 South Highland, Ste. B-B
Jackson, TN 38301

 

JUDGMENT |N A CR|MINAL CASE
(For Offenses Commltted On or After November 1, 1987)

The defendant pleaded guilty to Count 1, 2 and 3 of the indictment on January 28, 2005.

Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Offense Count

Title a section Mawr__w'_gm C_QM MM§l
18 U.S.C. § 922(g) Convicted Fe|on in Possession of a 01/28/2004 1
Firearm
26 U.S.C. §§ 5822, Possession of a Firearm with a 01/28/2004 2
5861(0), and 5871 Barrel of Less Than 18-inches in

Length and with an Overa|| Length
of Less than 26-inches

26 U.S.C. §§ 5841, Possession of a Firearm with a 01l28/2004 3
5861(d), and 5871 Barre| Length Less Than 26-inches

Not Registered to the Defendant in

the Nationa| Firearms Registration

and Transfer Record

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

IT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:

Defendant’s Date of Birth: 05/1 1/ 1976 May 05, 2005
Deft’s U.S. Marsha| No.: 19927-076

Thls document entered on the docket ah ln co lia e
with Hula 55 and/or 32(b) FHCrP on w

Case 1:04-cr-10079-.]DT Document 32 Filed 05/06/05 Page 2 of 7 Page|D 33
Case No: 1:04cr10079-01-T Defendant Name: Jeremiah G|ynn Sanford Page 2 of 6

Defendant’s Mai|ing Address:
80 HAMLETT RD
HURON, TN 38345

 

!)'§%M

JA S D. TODD
C F UN|TED STATES DISTRICT JUDGE

/
May § , 2005

Case 1:04-cr-10079-.]DT Document 32 Filed 05/06/05 Page 3 of 7 Page|D 34

Case No: 1:04cr10079-01-T Defendant Name: Jeremiah Glynn Sanford Page 3 of 6
lMPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 92 Months on each of Counts 1, 2 and 3 of the
Indictmentl to run concurrently with each other and concurrently with that period of
imprisonment remaining in Henderson County Circuit Court Case No. 04-060.
The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

Case 1:04-cr-10079-.]DT Document 32 Filed 05/06/05 Page 4 of 7 Page|D 35

Case No: 1:04cr10079-01-T Defendant Name: Jeremiah Glynn Sanford Page 4 of 6

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 3 years as to each of Counts 1, 2 and 3 of the |ndictment, concurrently.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a tirearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling. training1 or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

Case 1:04-cr-10079-.]DT Document 32 Filed 05/06/05 Page 5 of 7 Page|D 36

Case No: 1:04cr10079-01-T Defendant Name: Jeremiah Glynn Sanford Page 5 of 6

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation ocher within 72 hours of being arrested or questioned by a
law enforcement omcer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation ocher to make such notifications and to confirm the defendants compliance with such
notification requirementl

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
and alcohol abuse as directed by the Probation Officer until such time as the defendant is
released from the program by the probation officer.

2. The defendant shall participate in a program of mental health treatment as directed by the
Probation Officer until such time as the defendant is released from that program by the
probation officer.

3. The defendant shall cooperate with the United States Probation Office in the collection of
DNA.

Case 1:04-cr-10079-.]DT Document 32 Filed 05/06/05 Page 6 of 7 Page|D 37

Case No: 1:04cr10079-01-T Defendant Name: Jeremiah Glynn Sanford Page 6 of 6

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Totai Restitution
$300.00

The Special Assessment shall be due lmmediately.
FlNE
No fine imposed.

RESTITUT|ON

No Restitution was ordered.

"TDISRIC COURT - WE TENR D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 1:04-CR-10079 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson, TN 38301

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

